

People v Smith (2022 NY Slip Op 03692)





People v Smith


2022 NY Slip Op 03692


Decided on June 07, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 07, 2022

Before: Gische, J.P., Webber, Singh, González, Pitt, JJ. 


Ind. No. 2242/16 Appeal No. 16102 Case No. 2019-672 

[*1]The People of the State of New York, Respondent,
vJustyn Smith, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Simon Greenberg of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Alan Gadlin of counsel), for respondent.



Judgment, Supreme Court, New York County (Edwina G. Richardson-Mendelson, J.), rendered May 10, 2017, convicting defendant, upon his plea of guilty, of attempted robbery in the second degree, and sentencing him to a term of two years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and fees imposed at sentencing, and otherwise affirmed.
Based on our own interest of justice powers and the People's consent, we vacate the surcharge and fees imposed at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 7, 2022








